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           HAVLISH PLAINTIFFS’ RENEWED MOTION
    FOR AN ORDER CREATING A COMMON BENEFIT FUND AND
     AUTHORIZING CERTAIN DISBURSEMENTS THEREFROM




             EXHIBIT 8
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